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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC.,               )
and KEVIN O’HALLORAN,                       )
                                            )
            Plaintiffs,                     )
                                            )
      v.                                    )   CASE NO. 2:11-CV-746-WKW
                                            )
PRICEWATERHOUSECOOPERS, LLP,                )
and CROWE HORWATH, LLP,                     )
                                            )
          Defendants.                       )
___________________________________

FEDERAL DEPOSIT INSURANCE                   )
CORPORATION,                                )
                                            )
            Plaintiff,                      )
                                            )
      v.                                    )   CASE NO. 2:12-CV-957-WKW
                                            )
PRICEWATERHOUSECOOPERS, LLC,                )
and CROWE HORWATH, LLP,                     )
                                            )
            Defendants.                     )

                                    ORDER

      Although the deadline for filing summary judgment motions under the

Uniform Scheduling Order (“USO”) does not expire until August 5, 2016,

Defendant Crow Horwath LLP (“Crowe”) moves for leave to file two motions for

summary judgment—one in each of these consolidated actions—on what it says

are purely legal issues that “will not be affected by additional discovery.” (Doc.
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# 185.)   Crowe seeks leave of court to file these two motions “so as not to

prejudice its ability to move for summary judgment again based upon full-blown

discovery if these motions are not granted.” (Doc. # 185, at 2.) Plaintiffs oppose

the motion. Plaintiff Federal Deposition Insurance Corporation as Receiver for

Colonial Bank opposes the motion, arguing that additional discovery is required on

the statute of limitations issue. It argues, alternatively, that if the court permits

Crowe to file motions for summary judgment now, the court should preclude

Crowe from filing any additional motions at a later date. (Doc. # 200.) Plaintiffs

Colonial BancGroup, Inc., and Kevin O’Halloran object to “serial filings” of

summary judgment motions and contend that Crowe’s arguments “re-plow[ ] old

ground.” (Doc. # 201, at 2, 3.) Crowe has filed a reply brief in support of its

motion. (Doc. # 216.)

      Neither Federal Rule of Civil Procedure 56 nor the Uniform Scheduling

Order (“USO”) contains an express limitation on the number of summary judgment

motions a party may file. Moreover, neither the USO nor Rule 56(b) precludes a

party from filing a summary judgment motion prior to the USO’s August 5, 2016

deadline. There is no prohibition then under the governing rules in Crowe’s filing

two summary judgment motions at this date. The motions will be permitted. The

court is cognizant, however, of Plaintiffs’ concerns with the timing of the motions

and the risk of successive and duplicative motions, and, thus, will monitor any


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future summary judgment motions that Crowe files. Moreover, recognizing the

parties’ disagreement as to whether additional factual discovery is necessary to

oppose the summary judgment motions, the court finds that an extension of the

USO’s 28-day response deadline is warranted. Accordingly, it is ORDERED as

follows:

      (1)    Crowe’s Motion to File Additional Summary Judgment Motions

(Doc. # 185) is GRANTED.

      (2)    Crowe shall file its summary judgment motions and evidentiary

submission, which are appended to Document No. 185, on or before November

30, 2015.

      (3)    Plaintiffs shall file responses to the motions on or before February

19, 2016.

      (4)    Crowe’s reply brief, if any, shall be filed 7 days after the date the

response is filed.

      (5)    Discovery will not be stayed during the pendency of the motions for

summary judgment.

      (6)    Briefs in support of or in opposition to any motion generally should

not exceed 25 pages. If a brief exceeds 25 pages, counsel must include a table of

contents indicating the main sections of the brief and the principal arguments made

in each section, and the pages on which each section and any sub-sections may be


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found. Additionally, for briefs exceeding 25 pages, the filing party shall submit to

chambers a paper courtesy copy bound in a three-ring binder and tabbed. If a brief

and attachments or exhibits together exceed 25 pages, the filing party shall submit

to chambers a paper courtesy copy, double sided, tabbed, and bound in a three-ring

binder.

      (7)       There is no requirement that courtesy copies be delivered to chambers

by the due date; courtesy copies may be mailed or shipped to chambers on the day

they are due.

      (8)       Any discussion of evidence in a brief must include the specific

reference, by name or document number and by page and line, to where the

evidence can be found in the supporting evidentiary submission or in any

document filed with the court.

      DONE this 24th day of November, 2015.

                                          /s/ W. Keith Watkins
                                  CHIEF UNITED STATES DISTRICT JUDGE




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